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                                  IN THE UNITED STATES DISTRICT COURT
                                      FOR THE DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,                                      )
                                                               )                8:12CR70
                           Plaintiff,                          )
                                                               )
         vs.                                                   )                 ORDER
                                                               )
YAJAIRA MONARREZ-ZENDEJAS,                                     )
                                                               )
                           Defendant.                          )


         This matter is before the court on the motion for an extension of time by defendant Yajaira Monarrez-
Zendejas (Monarrez-Zendejas) (Filing No. 112). Monarrez-Zendejas seeks until June 22, 2012, in which to file
pretrial motions in accordance with the progression order. Upon consideration, the motion will be granted.


         IT IS ORDERED:
         Defendant Monarrez-Zendejas' motion for an extension of time (Filing No. 112) is granted. Monarrez-
Zendejas is given until on or before June 22, 2012, in which to file pretrial motions pursuant to the progression
order. The ends of justice have been served by granting such motion and outweigh the interests of the public
and the defendant in a speedy trial. The additional time arising as a result of the granting of the motion, i.e., the

time between April 26, 2012, and June 22, 2012, shall be deemed excludable time in any computation of time
under the requirement of the Speedy Trial Act for the reason defendant's counsel requires additional time to
adequately prepare the case, taking into consideration due diligence of counsel, and the novelty and complexity
of this case. The failure to grant additional time might result in a miscarriage of justice. 18 U.S.C. §
3161(h)(7)(A) & (B).
         DATED this 26th day of April, 2012.
                                                               BY THE COURT:
                                                               s/ Thomas D. Thalken
                                                               United States Magistrate Judge
